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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA



     V.                                   Case No.: 21-cr-78 (EGS)



JOHN SULLIVAN

MOTION TO ADOPT AND JOIN RELEVANT PORTIONS OF MOTION
TO DISMISS COUNT 2 OF THE INDICTMENT IN UNITED STATES v.
CALDWELL, 21-cr-28 (APM) AND TO DISMISS COUNT 1 OF THIS
                  SUPERSEDING INDICTMENT
         (Obstruction of an official proceeding does not apply
                to the Electoral College certification)

     Defendant, John Sullivan, by and through undersigned counsel, does

hereby respectfully move for dismissal of Count 1 of the superseding

indictment, ECF 56. Defendant does hereby additionally move to adopt and

join all relevant legal arguments related to the Motion to Dismiss Count 2 of

the fourth superseding indictment as forth in United States v. Caldwell, 21-

cr-28 (APM), ECF 240 and the Motion for Reconsideration filed on

December 24, 2021, 21-cr-28 (APM), ECF 566. In support thereof,

defendant represents as follows:

     1. Defendant has been indicted as one of many individuals for events

at the United States Capitol on January 6, 2021. Specifically, and relevant


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to this pleading, is Count 1 of the superseding indictment, United States v.

John Sullivan, 21-cr-78 (EGS) ECF 56, charging as follows:

            On or about January 6, 2021…John Sullivan, attempted,
            and did, corruptly obstruct, influence, and impede an official
            proceeding before Congress, specifically, Congress’s
            certification of the Electoral College vote as set out in the
            Twelfth Amendment of the Constitution of the United States
            and 3 U.S.C. §§ 158

Obstruction of an Official Proceeding and Aiding and Abetting, in violation
of Title 18, U.S. Code §§ 1512 (c)(2) and 2.

      2. Count 1 of this superseding indictment is the same as Count 2 in

the fourth superseding indictment in United States v. Caldwell, 21-cr-28

(APM), ECF 196. On June 15, 2021 the defendant in United States v.

Caldwell, 21-cr-28 (APM) filed a Motion to Dismiss Indictment, ECF 240.

The Motion to Dismiss was denied on December 20, 2021, ECF 558. A

Motion for Reconsideration was filed on December 24, 2021 and remains

pending, ECF 566. The grounds for the Motion to Dismiss relevant to this

proceeding is that the term official proceeding does not relate to the

Electoral College certification.

      3. A similar argument was raised before the Honorable Randolph D.

Moss of this Court in United States v. Patrick Montgomery, 21-cr-46 (RDM).

Oral argument was presented before Judge Moss on August 3, 2021. On




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December 28, 2021 Judge Moss entered an Order denying the Motion to

Dismiss the count charging18 U.S.C. § 1512 (c)(2).

      4. Defendant submits that the interests of judicial economy will best

be served by permitting the joinder and adoption of arguments presented in

the Motion to Dismiss Count 2 of the Indictment in United States v. Joseph

Caldwell, and by joining and adopting the pending Motion for

Reconsideration in 21-cr-28 (APM), ECF 566.

      5. Should the Court have any additional questions, Defendant is

prepared to submit further briefing on the issue raised in the Motion to

Dismiss.

      WHEREFORE, the foregoing considered, defendant seeks leave to

adopt and join the Motion to Dismiss Count 2 of the fourth superseding

indictment as filed in United States v. Caldwell, 21-cr-28 (APM).


                                          Respectfully submitted,



                                          _______/s/_______________
                                          Steven R. Kiersh #323329
                                          5335 Wisconsin Avenue, N.W.
                                          Suite 440
                                          Washington, D.C. 20015
                                          (202) 347-0200




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                      CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a true and accurate copy of the foregoing
was served, via the Court’s electronic filing system, on this the
____31st____day of December, 2021 upon Candice Wong, Esquire,
Assistant U.S. Attorney.


                                  ______/s/____________________
                                  Steven R. Kiersh




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